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                                                         United States District Court
                                                         Central District of California
                                                                                                                               JS-3
                                                                                                                               cc: BOP; USM;
                                                                                                                               Fiscal

 UNITED STATES OF AMERICA vs.                                                Docket No.             2:21-cr-00559-SB-1

 Defendant            David Howard Wright                                    Social Security No. 3          9     4     5

 akas:    Wright, David                                                      (Last 4 digits)

                                           JUDGMENT AND PROBATION/COMMITMENT ORDER


                                                                                                                      MONTH   DAY   YEAR
             In the presence of the attorney for the government, the defendant appeared in person on this date.       April   25    2022


 COUNSEL                                        Anthony Pacheco, Rtd., Maura Riley, Rtd., Brooke E. Conner, Rtd.
                                                                             (Name of Counsel)

      PLEA            X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO              NOT
                                                                                                                CONTENDERE          GUILTY
                      There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of: Bribery
     FINDING          Concerning Programs Receiving Federal Funds in violation of 18 U.S.C. § 666(a)(1)(B) as charged in Count One of the
                      Single-Count Information

JUDGMENT              The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/             contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered
  COMM                that: Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby
  ORDER               committed to the custody of the Bureau of Prisons to be imprisoned for a term of Seventy-Two (72) Months as to Count
                      One of the Single-Count Information.

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of three (3) years
under the following terms and conditions:

1.       The defendant shall comply with the rules and regulations of the United States Probation & Pretrial Services
         Office and the Second Amended General Order 20-04.

2.       During the period of community supervision, the defendant shall pay the special assessment and fine in
         accordance with this judgment's orders pertaining to such payment.

3.       The defendant shall cooperate in the collection of a DNA sample from the defendant.

4.       The defendant shall participate in mental health treatment, which may include evaluation and counseling, until
         discharged from the treatment by the treatment provider, with the approval of the Probation Officer.

5.       As directed by the Probation Officer, the defendant shall pay all or part of the costs of the Court-ordered
         treatment to the aftercare contractors during the period of community supervision, so long as the defendant has
         the ability to pay. The defendant shall provide payment and proof of payment as directed by the Probation
         Officer. If the defendant has no ability to pay, no payment shall be required.

6.       The defendant shall submit his person, property, house, residence, vehicle, papers, computers [as defined in 18
         U.S.C. § 1030(e)(1)], cell phones, other electronic communications or data storage devices or media, office, or
         other areas under the defendant’s control, to a search conducted by a United States Probation Officer or law
         enforcement officer. Failure to submit to a search may be grounds for revocation. The defendant shall warn any

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           other occupants that the premises may be subject to searches pursuant to this condition. Any search pursuant to
           this condition will be conducted at a reasonable time and in a reasonable manner upon reasonable suspicion that
           the defendant has violated a condition of his supervision and that the areas to be searched contain evidence of
           this violation.

The Court authorizes the Probation Officer to disclose the Presentence Report, and any previous mental health
evaluations or reports, to the treatment provider. The treatment provider may provide information (excluding the
Presentence report), to State or local social service agencies (such as the State of California, Department of Social
Service), for the purpose of the client's rehabilitation.

The Court recommends that the Bureau of Prisons (BOP) conduct a mental and physical health evaluation of the
defendant and provide all necessary treatment.

The drug testing condition mandated by statute is suspended based on the Court's determination that the defendant
poses a low risk of future substance abuse.

It is further ordered that the defendant surrender himself to the institution designated by the Bureau of Prisons on or
before 12 noon, June 24, 2022. In the absence of such designation, the defendant shall report on or before the same date
and time to the United States Marshal located at the First Street Federal Courthouse, 355 W. First Street, Los Angeles,
CA 90012. 1

It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due as soon as
possible. If the defendant claims he has an inability to pay, any unpaid balance shall be due during the period of
imprisonment, at the rate of not less than $25 per quarter, and pursuant to the Bureau of Prisons' Inmate Financial
Responsibility Program.

It is ordered that the defendant shall pay to the United States a total fine of $75,000 with a payment schedule as follows:
The defendant shall pay $35,000 of the fine within 30 days of this judgment; and the remaining $40,000 is to be paid by
June 24, 2022.

Defendant informed of his right to appeal.

The Court recommends the defendant be placed in a Bureau of Prisons facility located in Lompoc, California, or in the
alternative, as close as possible to the Los Angeles County area.

The Court further recommends to the Bureau of Prisons: that defendant be designated to a Bureau of Prisons facility
that offers the 500-hour Residential Drug Abuse Program (RDAP).

Bond is exonerated upon self surrender.




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    The Court corrects its instruction for the Defendant to self-surrender at the Roybal Federal Building outside the presence of the parties.

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 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            April 25, 2022
            Date                                                           Hon. Stanley Blumenfeld, Jr.
                                                                           U. S. District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                           Clerk, U.S. District Court




            April 25, 2022                                          By
            Filed Date                                                     Jennifer Graciano
                                                                           Deputy Clerk



 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                                STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                 While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant must not commit another federal, state, or local crime;        9.     The defendant must not knowingly associate with any persons
 2.    The defendant must report to the probation office in the federal                    engaged in criminal activity and must not knowingly associate with
       judicial district of residence within 72 hours of imposition of a                   any person convicted of a felony unless granted permission to do so
       sentence of probation or release from imprisonment, unless                          by the probation officer. This condition will not apply to intimate
       otherwise directed by the probation officer;                                        family members, unless the court has completed an individualized
 3.    The defendant must report to the probation office as instructed by the              review and has determined that the restriction is necessary for
       court or probation officer;                                                         protection of the community or rehabilitation;
 4.    The defendant must not knowingly leave the judicial district without         10.    The defendant must refrain from excessive use of alcohol and must
       first receiving the permission of the court or probation officer;                   not purchase, possess, use, distribute, or administer any narcotic or
 5.    The defendant must answer truthfully the inquiries of the probation                 other controlled substance, or any paraphernalia related to such
       officer, unless legitimately asserting his or her Fifth Amendment                   substances, except as prescribed by a physician;
       right against self-incrimination as to new criminal conduct;                 11.    The defendant must notify the probation officer within 72 hours of
 6.    The defendant must reside at a location approved by the probation                   being arrested or questioned by a law enforcement officer;
       officer and must notify the probation officer at least 10 days before        12.    For felony cases, the defendant must not possess a firearm,
       any anticipated change or within 72 hours of an unanticipated change                ammunition, destructive device, or any other dangerous weapon;
       in residence or persons living in defendant’s residence;                     13.    The defendant must not act or enter into any agreement with a law
 7.    The defendant must permit the probation officer to contact him or her               enforcement agency to act as an informant or source without the
       at any time at home or elsewhere and must permit confiscation of                    permission of the court;
       any contraband prohibited by law or the terms of supervision and             14.    The defendant must follow the instructions of the probation officer
       observed in plain view by the probation officer;                                    to implement the orders of the court, afford adequate deterrence from
 8.    The defendant must work at a lawful occupation unless excused by                    criminal conduct, protect the public from further crimes of the
       the probation officer for schooling, training, or other acceptable                  defendant; and provide the defendant with needed educational or
       reasons and must notify the probation officer at least ten days before              vocational training, medical care, or other correctional treatment in
       any change in employment or within 72 hours of an unanticipated                     the most effective manner.
       change;




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      The defendant must also comply with the following special conditions (set forth below).

           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not applicable
 for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and costs must be paid by certified check or money
 order made payable to “Clerk, U.S. District Court.” Each certified check or money order must include the case name and number. Payments
 must be delivered to:

           United States District Court, Central District of California
           Attn: Fiscal Department
           255 East Temple Street, Room 1178
           Los Angeles, CA 90012

 or such other address as the Court may in future direct.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C.
 § 3563(a)(7).

           Payments will be applied in the following order:

                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United
                         States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement,
 with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply for any loan
 or open any line of credit without prior approval of the Probation Officer.

           When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to the
 Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including any business
 or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the Probation Office in advance
 of opening a new account or modifying or closing an existing one, including adding or deleting signatories; changing the account number or
 name, address, or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the
 new account, modification or closing, the defendant must give the Probation Officer all related account records within 10 days of opening,
 modifying or closing the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant’s
 behalf.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.


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                                                                    RETURN

I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                              By
            Date                                                     Deputy Marshal

                                                                   CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.
                                                                     Clerk, U.S. District Court


                                                              By
            Filed Date                                               Deputy Clerk



                                                 FOR U.S. PROBATION OFFICE USE ONLY

Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



         (Signed)
                      Defendant                                                               Date




                      U. S. Probation Officer/Designated Witness                              Date




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